              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                    Civil Case No. 1:11-cv-00316-MR
                [Criminal Case No. 1:06-cr-00252-MR-2]


JACQUES ROBERT JACKSON, )
                          )
         Petitioner,      )
                          )
    vs.                   )                  MEMORANDUM OF
                          )                DECISION AND ORDER
UNITED STATES OF AMERICA, )
                          )
         Respondent.      )
                          )

      THIS MATTER comes before the Court on consideration of

Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence, filed

pursuant to 28 U.S.C. § 2255 [Doc. 1].

I.    FACTUAL BACKGROUND

      On December 20, 2006, Petitioner and a co-defendant were charged

with one count of conspiracy to commit robbery, in violation of 18 U.S.C. §§

1951 and 2 (Count One).      Petitioner also was charged with knowingly

possessing and brandishing a firearm during and in relation to a crime of

violence, in violation of 18 U.S.C. § 924(c)(1)(A)(iii) (Count Three) and

possession of ammunition after having been convicted of a felony, in




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violation of 18 U.S.C. § 922(g)(1) (Count Five). [Criminal Case No. 1:06-cr-

00252-MR-2, Doc. 22: Superseding Indictment].

      On February 26, 2007, Petitioner and the Government entered into

an Amended Plea Agreement, pursuant to which Petitioner agreed to plead

guilty to Counts One and Three and the Government agreed to dismiss

Count Five. [Id., Doc. 32: Amended Plea Agreement at 1]. Petitioner pled

guilty to these charges on February 26, 2007. [Id., Doc. 34: Acceptance

and Entry of Guilty Plea].

      On October 3, 2007, the Court sentenced Petitioner to 130 months’

imprisonment on Count One, and a consecutive term of 120 months on

Count Three. [Id., Doc. 48: Judgment in a Criminal Case]. Petitioner did

not file a direct appeal from this Judgment.

      On August 2, 2012, the Court granted a motion by the Government to

reduce Petitioner’s sentence pursuant to Rule 35(b) of the Federal Rules of

Criminal Procedure. [Id., Doc. 53: Order]. The Court entered an Amended

Judgment on August 13, 2012, reducing Petitioner’s sentence on Count

One to 70 months’ imprisonment; Petitioner’s sentence on Count Three

remained unchanged.      [Id., Doc. 54: Amended Judgment in a Criminal

Case]. Petitioner did not file a direct appeal from this Amended Judgment.




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       In Petitioner’s Section 2255 motion, filed November 21, 2011, he

contends that he is entitled to be resentenced based on the Fourth Circuit’s

decision in United States v. Simmons, 649 F.3d 237 (4th Cir. 2011) (en

banc). Specifically, Petitioner asserts that the decision in Simmons has

rendered his sentence invalid because his state court convictions for drug

offenses are no longer properly considered felonies under the holding in

Simmons.      Consequently, Petitioner asserts, his sentence should be

vacated and he should be resentenced without consideration of the prior

state convictions. [Doc. 1 at 4, 12, 15].

       The Government responds by asserting the affirmative defense of the

one-year statute of limitation as provided in 28 U.S.C. § 2255(f), and moves

the Court to dismiss the Section 2255 motion as untimely filed. [Doc. 7].

II.    STANDARD OF REVIEW

       Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine motions

to vacate, along with “any attached exhibits and the record of prior

proceedings” in order to determine whether a petitioner is entitled to any

relief. The Court has considered the record in this matter and applicable

authority and concludes that this matter can be resolved without an




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evidentiary hearing. See Raines v. United States, 423 F.2d 526, 529 (4th

Cir. 1970).

III.    DISCUSSION

        On April 24, 1996, Congress enacted the Antiterrorism and Effective

Death Penalty Act (the “AEDPA”). Under the AEDPA, there is a one-year

statute of limitations for filing a motion for collateral relief. Section 2255(f)

provides:

              (f)   A 1-year period of limitation shall apply to a
              motion under this section. The limitation period shall
              run from the latest of—

              (1) the date on which the judgment of conviction
              becomes final;

              (2) the date on which the impediment to making a
              motion created by      governmental     action    in
              violation of the Constitution or laws of the United
              States is removed, if the movant was prevented
              from making a motion by such governmental
              action;

              (3) the date on which the right asserted was initially
              recognized by the      Supreme Court, if that right
              has been newly recognized by the Supreme Court
              and made retroactively applicable to cases on
              collateral review; or

              (4) the date on which the facts supporting the claim
              or claims presented could have been discovered
              through the exercise of due diligence.

28 U.S.C. § 2255(f)(1)-(4).


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     Petitioner’s conviction became final ten (10) business days following

the entry of the Judgment by the Clerk of Court on October 3, 2007. See

Fed. R. App. P. 4(b) (2007); see also Clay v. United States, 537 U.S. 522,

530, 123 S.Ct. 1072, 155 L.Ed.2d 88 (2003) (judgment becomes final when

time for direct appeal expires). Petitioner contends that his Section 2255

motion is timely under § 2255(f)(3) because it was filed within one year of

the date the Fourth Circuit filed its en banc decision in Simmons.

Petitioner’s claim, however, is not timely under (f)(3) because that

subsection requires filing within one year of a new Supreme Court

precedent that is made retroactive to cases on collateral review. Simmons

is a decision of the Fourth Circuit, not the Supreme Court, and while the

rationale of Simmons was based on the Supreme Court’s ruling in

Carachuri-Rosendo v. Holder,       U.S.       , 130 S. Ct. 2577, 177 L.Ed.2d

68 (2010), the Fourth Circuit has held that Carachuri-Rosendo does not

apply retroactively to cases on collateral review.     See United States v.

Powell, 691 F.3d 554, 560 (4th Cir. 2012); (“Because the Supreme Court’s

decision in Carachuri at most altered the procedural requirements that must

be followed in applying recidivist enhancements and did not alter the range

of conduct or the class of persons subject to criminal punishment, we hold

that Carachuri is a procedural rule. It is, therefore, not retroactively


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applicable to cases on collateral review.”); see also United States v.

Wheeler, No. 11-6643, 2012 WL 5417557, at *1 (4th Cir. filed Nov. 7, 2012)

(unpublished) (noting that “Wheeler’s claim for retroactive application of

[Carachuri and our opinion in Simmons] fails in light our recent opinion in

[Powell].”); United States v. Walker, No. 11-6660, 2012 WL 5359506, at *1

(4th Cir. filed Nov. 1, 2012) (unpublished) (holding that “Carachuri claims

may not be raised retroactively in collateral proceedings.”).1                      Since

Simmons and Carachuri-Rosendo have no retroactive application to cases

on collateral review, these cases avail Petitioner nothing. Petitioner’s claim

is without merit and must be dismissed.

       Pursuant to Rule 11(a) of the Rules Governing Section 2255 Cases,

the Court declines to issue a certificate of appealability as Petitioner has

not made a substantial showing of a denial of a constitutional right. 28

U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in

order to satisfy § 2253(c), a petitioner must demonstrate that reasonable

jurists would find the district court’s assessment of the constitutional claims

debatable or wrong); Slack v. McDaniel, 529 U.S. 473, 484 (2000) (holding

that when relief is denied on procedural grounds, a petitioner must


1
 In any event, Petitioner did not file his Motion to Vacate until more than one year after
the Supreme Court’s decision in Carachuri-Rosendo.

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establish both that the correctness of the dispositive procedural ruling is

debatable, and that the petition states a debatably valid claim of the denial

of a constitutional right).

IV.    CONCLUSION

       IT IS, THEREFORE, ORDERED that Petitioner’s Section 2255

Motion [Doc. 1] is DENIED and DISMISSED.

       IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

Governing Section 2255 Cases, the Court declines to issue a certificate of

appealability.

       IT IS SO ORDERED.

                                  Signed: May 29, 2013




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